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RACING SERVICES A§REEMENT

THlS RACING SERVICES AGREEMENT (the “Agrccment") is entered into
as of July 6, 2014 (the “El’l'ective Date“) by and between Andretti Spons Marketing
Louisiana, LLC, an Indiana limited liability company (“ASM") with its principal place
ol' business located at 7615 Zionsville Road, lndianapolis. lndiana 46268, and NOLA
Motorspozts Host Committee, a Louisiana non-profit corporation (“NMHC" or
“Pl'omoter"), with its principal place ol` business located at 11075 Nicolle Boulevanl,
Avondale, louisiana 70094. NMHC and ASM shall also be referred to hereinafter as
a “Party“ or collectively as the “ °es".

WHEREAS, ASM is engaged in the business of providing motorsports
operations, management and marketing services;

Wl-IEREAS, NMHC is a non-profit corporation formed for the purpose of
promoting motorsports racing in the greater New Orleans area (the “City") and is the
owner of the Event more fully described herein;

WHEREAS. NMHC desires to retain ASM to provide certain motorsports
operations, management and marketing services for the E.vent owned and promoted by
NMHC at NOLA Motorspotts Park more fully described herein; and

WHEREAS, NHMC shall lease the facility known as NOLA Motorsports Park
from Nola Motor Club, LLC for the purpose of producing the Event more fully
described herein.

NO\V, THEREFORE, in consideration of the foregoing and the respective
representations, warranties eovenants, and agreements set forth herein, and intending
to be legally bound, the Parties agree as follows:

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(a) “Affillate(s)" shall mean (l) all business units and divisions of a patty
or its parent entities, and (2) any entity controlled by. controlling or under common
control with such party. Sueh entity shall be deemed to be an “Afiiliale” only so long

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EXHIBIT

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as such control exists Upon request, the parties agree to confirm the All`iliate status of
a particular entity. ln the interest ofclarity, NMHC is not ali'iliate ofNola Motor Club,
LLC or any entity asmciated with the Nola Motorsports Park. NHMC is an
independent non-profit corporation 'l°lte board members, otiicers, and agents of
NHMC may, front time to time, serve in another capacity for Noia Motor Club, LLC
but such service shall not create any affiliate relationship between NHMC and Nola
Motor Club, LLC or Nola Motorsports Park. Furtber in the interest ofclarity, ASM is
not an attiliate of Andretti Autosport Holding Company or Andretti Autosport. ASM
is an independent for-profit corporation. 'I`he board members oflicers, members and
agent of ASM may, from time to time, serve in another capacity for Andretti
Autosport Holding Company or Andretti Autosport but such service shall not create
any affiliate relationship between ASM and Andretti Autospon Holding Company or
Andretti Autosport.

(b) “Elt`ective Date” shall mean the effective date set forth in the opening
paragraph of this Agreement.

(c) “lNDYCAR Netv Orleans Event" or “Event” shall mean the annt\al
automotive race “ or “Event”), presently scheduled to begin in 2015,
sanctioned by the lady Racing league LLC, dib/a lNDYCAR, an indiana limited
liability company, with its principal place of business located at 4551 West 16th
Street, lndianapolis, lndiana, 46222, ("lndy Raclng League" or “INI)YCAR") or a
successor or an equivalent professional motorsports sanctioning body should
IND?CAR cease to exist, to be held on the grounds of the NOLA Motorsports Park
(“NOLA"), and all events and promotions related thereto.

(d) “Eveot Budget" shall mean the budget for undertaking the Event held
at NOLA commencing with an inaugural Event in 2015, to be approved by NMl-IC
subsequent to the execution of this Agreernent and amended from time to time by the
Parties.

(e) “Services" shall mean all services, materials, licenses, or products
provided by ASM to, or for the benth of, NMHC under this Ag¢eement. as strch items
are spociiied in thc SOW.

(f) “SCW” shall mean the Statement of Work identi§'ing the Services to
be provided by ASM under this Agreernent, as is set forth in Schedule A to this
Agreement; and shall include any additional Schedules executed by the Parties in
respect to any additional Tenn (ae defined herein). All work product created
heretmder, including n a result of the SOW, is work-for-hire and is the property of
NMHC.

(h) “INDYCAR NOLA Agreemeat" shall mean that INDYCAR Event
Sanction Agreement between lNDYCAR and NMHC to be executed.

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2. Engagetnent of ASM; ASM’s and NMHC’s Duties and Obllgations

NMHC hereby engages ASM, and ASM hereby agrees to be engaged by
NMHC, to provide the Services, that are set forth in the SOW, which is incorporated
as part of this Agteement as Schedule A. ASM covenants with NMHC to employ its
best skill, judgment and efforts, and to cooperate with NMHC and any other
contractors engaged by NMHC in the provision of the Services that are set forth in the
SOW. ASM further covenants to use its best efforts to perform its duties and
obligations under this Agreernent in an eflicient, expeditious and economical manner.
Likewise, NMHC agrees to fulfill its obligations as set forth in this Agreement as well
as honor its responsibilities set forth in the SOW, including but not limited to its sole
responsibility to financially support the INDYCAR New Orleans Event for the Term.
NMHC shall contract directly with lNDYCAR with respect to NMl-IC's obligations to
finance and promote the lNDYCAR New Orleans Event (s).

ASM shall seek approval from NMHC before executing any agreement in
excess of $5,000 in support of the Event. Such approval may be in the form on an e-
mail with the words, “APPROVED."

3. Tcrm and Termination

(a) 'Legn_. This Agreernent shall commence on the Effective Date and
continue for a term up until and ending on December 3l, 2017 (the “Term" , unless
earlier terminated as provided for herein. 'Ihe Parties may agree to extend this
Agreement uponthemutual, written consent of the Parties.

(b) Terminatigg for Cause. A Party may terminate this Agreemenl
immediately upon written notice to the other Party in the event that such other Party:
(i) becomes insolth or makes assigrunent for the benefit of creditors; (ii] liles or has
filed against it any petition under any Title of the United States Bankruptcy Code or
under any applicable state banknrptcy, insolvency, reorganization or similar debtor
relief law, which filing is not discharged within thirty (30) days of said l`iling, or (iii)
requests or suffers the appointment of a trustee or receiver, or the entry of an
attachment or execution as to a substantial part of its business or assets. A non-
breaching Party may terminate this Agreement in the event the other Party materially
breaches any ol` its other obligations under any provision of this Agreement, including
its Schedules, which breach is not cured within thiny (30) days siler written notice
thereof by the other Party.

(c) Efl`cct of 't`errnination. Tennination of this Agreemcnt shall not limit
either Party from pursuing other remedies available to it, including injunctive relief.
nor shall such termination relieve either Party of its obligation to pay all fees that have
seemed or are otherwise owed by such Pany under this Agreemcnt_. or refund such
fees if not camcd.

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(d) ’_l;eggigatt_'on_MM. NMHC reserves the right to terminate

ASM for performance if any of the following oecurs:

i. 'I`he race fails to generate the budgeted revenues nna'runs a deficit in
any given year following the rotating of the second mutual mee event.

ii. ASM breaches this Agreement by not providing the services it has
agreed to perform in this Agreernent, which may include expending
more than the budgeted amount of expenditures without prior approval
ofNMl-IC.

Termination under (i) shall take place within 60 days after the completion of a race, or
within 30 days of ASM providing an accounting of revenues and expenses of the race.

4-F_¢¢s

(a) I;`W. ln consideration of ASM’s provision of management, operations
and promotions services set forth in the SOW for the 2015-2017 Races, attached as
Sehedule A, and as outlined on the Event Budget, NMHC shall pay to ASM an annual
management fee of Four Hundred Fitty Thouaand ($450,000) dollars. This
management fee is in addition to the ASM event and service costs outlined below and
incorporated into the Event Budget at Eight Hundred Seventy Two 'I`housand Fifty
($8?2,050.00) dollars annually. NMHC agrees to pay ASM the combined total for its
management fee and event and service costs of (81,322,050} annually, in installments
as outlined pmsuant to the schedule shown below.

The Parties agree to modify the payment dates for payment of the annual management
fee and ASM event and service costs set forth below in the Fee Schedules if the Event
is scheduled on a date sooner than lune. lf the E.vent is scheduled by NMHC and
lNDYCAR for a date earlier than .Iune. then the Parties agree to accelerate the
payment schedule below in a manner whereby all payments will be made in full by the
month of the scheduled Event date and pursuant to mutual agreement of the Parties:

 

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Fee Sehedule for 2015 Event

Due on or Event &

Management

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Fee Sehedule for 2016 Event

 

before: Service Cost Fee row Due
lS-Aug-M $43,603 $34,615 $78,2|8
l S-Scp- 14 $43,603 334,615 578,21 3
l5-Oct-l4 $43,603 534,615 578,218
lS-Nov-l4 $43,603 $34,61$ $78,218
l S-Dec- l 4 $43,603 534,615 $78,2 13
iS-.lan-IS $43,603 $34,615 $78,218
IS-Feb-IS $43.603 $34,6|5 $78,218
lS-Mar-IS $43,603 834,615 $78,218
lS-Apr- l 5 543,603 $34,61 5 $78.21 8
lS-May-l$ 5218,010 334,615 $252,625
l$-Jun- l 5 $2| 8,010 334,615 $252,625
l$-.lu|-l 5 $43,603 569,235 $l 12,838
5872,050 $450,000 $l,322,050
Due on or Event & Man ement

before: Service Cost l*gee Towl Due
l-Jul-l$ $43,603 334,615 S78.218
l-Aug-l$ $43,603 534,615 578,218
i-Sep-i$ $43,603 834.615 378,218
l-Oet-l$ 343,603 $34,615 $78,218
l-Nov-IS $43,603 834,615 $‘78,218
I-Dec- l 5 $43,603 534,615 $78.218
l-.lan-l6 $43,603 534,615 578,218
l-Feb-l& $43,603 534.615 $78,2| 8
l-Mar-lti 543,603 $34,6| 5 $78,218
l-Apr‘-lti $43,603 834,615 578,218
l-May-lo 3218,010 834,615 S252.62S
l-Jun-16 5218,010 534,6| 5 $252,625
l-Jul-l 6 534,620 334,620

 

5872,050

$450,000 $1,322,050

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Fee Sehedule far 2017 Evet'lt

Due on or Event dc Martagcment

before: Service Cost Fee
l-.lul-l6 $43,603 $34,615 578,218
l-Aug-lti $43,603 $34,615 $78,2|8
l-Sep-lti $43,603 534,615 $78.2|8
l~Oct-lé 543.603 $34.615 573.218
l-Nov-lti $43,603 $34,615 $78,218
l-Dec-16 $43,603 $34,615 $78,2|8
l-.lan-l'} 843,603 534,61$ $78,218
l-Feb-l’l $43,603 334,615 $18,2l8
l-Mar-l? $43,603 $34,615 $78,2|8
l-Apr-l'? $43,603 334,615 $18,213
l-May-l? $218,010 $34,615 $252.625
l-Jurr-l? $218,010 $34,615 3252,625
l-.lul-l'l $34,620 $34.620
5872,050 3450,000 $1,322,050

Total Due

(b) ReviewofRecords.ASM and itaAHiliates will nuintainaccurateand
complete books and records associated with the Services performed for, or on-behalf'
of, NMHC, includingl without limitation, work specifications for race track and
hellin construction, hospitality customer lists, ticketing databases (if available from
the contracted ticketing company), sponsor contact information as well as invoices and
receipts due and payable by NMHC to third-parties for the Race. Such records will he
maintained for a period of three (3) years following the termination of this Agreement.
During the Term and no later than on the fifteenth (IS°') day ofeach luly that this
Agreement is in efl`eet, ASM and will provide NMHC with a detailed review of its
Services provided under the SOW and an after action report (a full debriefing of the
operations) for Race (or any subseqth running of the INDYCAR New Orleans Evcnt
during an additional Terrn) having been completed earlier that year.

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(a) ASM will advise NMHC on various insurance providers that carr assist
NMHC in obtaining (with payment to be made by NMl-IC) general conunercial
liability insurance, needed, covering any damage to property or personal injuries to,
ordeathof,spectators,guestsorany otherperson,arisingfrwnorincurredin
connection with the running of any INDYCAR New Orleans Event and all other
activities covered by this Agreement, in the greater of the following amounts: (i) the
mount required by the sanctioning bodies participating in and connecting with
NMl-lC for each Event.; or (ii) (A) twenty-five million dollars (U.S. 525,000,000.00)
for each occurrence involving one or more person, including coverage for partieipants‘

 

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legal liability, TR]A (Terrorism Rislr lnsurance Act), spectator coverage, and liquor
liability protection, and tire legal liability protection in the amount of not less than
550,000 per occurrence and medical payments coverage of not less than 510,000 per
person, (C) five hundred thousand dollars (U.S. 5500,000.00) per occurrence for
property damage, (D) advertiser's liability and contractual coverage in the amount of
one million dollars (U.S. $l,000,000.00) per occurrence. and (E) workers
compensation insurance in the amount(s) required under and in accordance with thc
State of Louisiana statutory requirements and employer's liability insurance with
limits of not less than One Million Dollars (U.S. $l,000,000) per accident NMHC
shall ensure that such insurance policy shall include coverage for the vehicles used to
transport the INDYCAR New Orlcans Event show car and related equipment, if
applicable, and shall hein effect as of the Ell`ective Date of this Agreement and shall
remain in effect until the termination of this Agreement. Such insurance policy(ies)
obtained by NMHC shall name ASM as an additional coinsured and contain
endorsements identifying the City’s elected and appointed oliicials and employees,
authorized volunteers, and INDYCAR New Orleans Event spectators and participants
as additional insureds all without cost to ASM, shall be primary and non-contributory
with respect to insurance provided and shall provide that the insurer will not cancel or
modify such coverage except after at least thirty (30) days written notice to ASM and
NMHC. A copy of such policy or a certificate of insurance evidencing such coverage
shall be furnished to ASM by NMHC. Failure to provide t|re aforesaid certificate or
other evidence in the manner and time required or to maintain the insurance coverage
specified herein shall be deemed a material breach of this Agreement. All insurance
policies procured pursuant to this Section 4 shall be obtained from nationally-
recognieed insurance carriers that are qualified and licensed to write insurance in New
Orleans and have a current rating of or equivalent to “A-, Vlll” by A.M. Best &
Cornpany.

(b) During the Tenn, ASM will maintain one or more liability insurance
policies providing coverage relative to ASM’s obligations under this Agreernent.
Such insurance shall provide coverage of no less than (A) $l,000,000.00 of
Corrrmercial General Liability (CGL) insru'ance which shall include advertiser’s
liability and conu'aetual liability coverage to cover ASM’s obligations under the terms
of this Agreement, and (B) auto liability insurance covering ASM's liability to pay
claims because of damage to property and for injuries or death of any persons arising
out of the ownership, maintenance or use of any motor vehicle, in an amount of not
less than $l,000,000.00 combined single limit for each accidan NMI~|C shall be
named an additional insured‘s under the said insurance policy or policies A
certificate of insurance evidencing each such policy in a form satisfactory to ASM
shall be l`umislred to them upon request Failure to provide the aforesaid certificate or
other evidence in the manner and time required or to maintain the insurance coverage
specified herein shall be deemed a material breach of this Agreement.

6. ASM Personnel. Al| personnel supplied or used by ASM shall be deemed
employees or subcontractors of ASM and will not be considered employees, agents or
subcontractors of NMHC for any purpose whatsoever. ASM assumes lirll

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responsibility for the actions of all such personnel while performing services under
this Agreement and for the payment of their compensation (including, if applicable,
withholding of income taxes, and the payment and withholding of social security and
other payroll taxes), workcrs' compensation, disability benefits and the like to the
extent applicable to the personnel involved. Notwithstanding and without in any way
limiting any terms and conditions set forth in this Agreement, all subcontractors of
ASMshali bedcemedtohavemadeallofthereprecentationsandwarrantiesofASM
set forth herein and shall be subject to any obligations of ASM hcreunder.

7. lndenmiliea@g. Each Party agrees to indemnify, protect, defend and hold
harmless the other Party, its Aliiliates, if any, and their respective shareholders,
members, directors, officers, employees and agents from and against any and all
clairns, costs, liabilities, lossec, judgments, expenses, damagesl injuries, demands,
actionsl causes of action, suits and proceedings including reasonable anomeys‘ fees,
court costs and other expenses irwiuding, without llmitation, those costs incurred at
trial and appellate levels and in any bankruptcy, reorganization, insolvency or other
similar proceedings (collectively, “Claims”), arising li'om or connected with: (a) any
breach by a Party of its obligations under any provision of this Agreement or any
material inaccuracy of any representation or warranty made by either of them herein;
(b) any negligent act or omission or willful misconduct by s Party, including its
employees, servants and agents, related to its obligations andlor performance under
this Agreenrent; (c) copyright or trademark infringement actions asserted by any third
parties arising out of publication, use or depletion ofthe third party's name and!or
tradernarksasauthorized byaParty. APartysball givetheotherPartypromptnotice
of any Claim brought against it coming within the purview of these indernnities.
Within live (S) business days alter receipt of such notiee, the party having the
indemnification obligation hereunder (the “lndemnitor") shall undertake the defense
of such Claim with counsel reasonably satisfactory to and approved by the Party
entitled to indemnification hereunder (the “iadenrnltee"). if the Indemnitor fails to
undertake and sustain the defense of any Claim in the manner required by this Section
7, the indemnitee may engage separate counsel, pay, settle or otherwise finally resolve
such Claim for the account and at the risk and expense of the indenmitor. Any
payman settlement or final resolution otherwise by the indemnitee shall release the
indemnitor from liability for such Claim (subjcct to thc Indcmnitor's reimbursement of
any such settlement paid made by lndemnitee). if the indemnitor undertakes the
defense of a Claim in the manner required by this Scction 7, the indemnitee may, at its
own expense, engage separate counsel and participate in the defense of any Claim
brought against it.

8. Tradaltgrl¢s. ASM grants to NMHC the right to display logos. trademarks,
trade namas, service marks and copyrights (“Marlrs") of ASM (the “ASM Marlrs")
solely for the proposes of promoting, marketing and operating (or any related action
thereto) the lNDYCAR New Orieans Event during the Term and any additional Term,
in such manner as approved by ASM, such approval not to be unreasonably withheld
or delayed. NMi-lC agrees that it is not acquiring any rights, title, or interest in or to
ASM's Marks, or ASM's Afiiliate’s Marks. NMHC covenants and agrees that it will
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only usc ASM‘s Marlts as approved by ASM, in accordance with the terms of this
Agreemenl and that all such use shall be in conformity with ASM‘s graphic standards
for ASM’s Marlts. All forms of advertising and promotions using ASM's Marlcs are
subject to the prior approval of ASM, which shall not be unreasonably withheld or
delayed. NMHC acknowledges that the right to use ASM‘s Marks is non-exclusive,
non-assignable and non-transferable and terminable

9. Rt_epresentatlons and Wamntles. Each of the Parties hereby represents and
wanants to the other Par'ty that: (a) it is a limited liability company or non-profit
corporation to be formed shortly or duly organized and in good standing in its state of
organization (and in the case of ASM, that it is qualified to do business in the State of
Louisiana), and has adequate power to enter into and perform this Agreement; (b) this
Agreernent has been duly authorized, executed and delivered on behalf of such Party,
and constitutes the legal, valid and binding agreement of such Party, enforceable in
accordance with its tenns; (c) the individual executing this Agreement has the right,
authority and power to enter into this Agreement on behalfof such Party; and (d) such
Pany has obtained and., through the Term, will maintain the requisite permissions,
authorizations and consents to fully perform hereunder.

lt}. Assigr_tmenr. Neithcr this Agreement nor any rights granted hereunder may be
sold, leascd, assigned, or otherwise uansferrcd, in whole or in part, by either Pat'ty,
and any such attempted assignment shall be void and of no effect without the advance
written consent ofthc other Party.

ll. Conftdential lnl'ormation. Each Party may have access to information that is
confidential to the other Party (“Cotllldential information”). Coniidential
information shall include any information that is clearly identified in writing at the
time of disclosure as confidential as well as any infomtation tltat, based on the
circumstances under which it was disclosed, a reasonable person would believe to be
confrdential. Coniidentia| lnforrnation shall includc. but not be limited to, forrnulas,
methods, know how, processes, designs, new products, developmental work,
marketing requirements marketing plans, customer names, prospective customer
names, and the terms and pricing under this Agreement, regardless of whether such
information is identified as conlidential. Conlidential information includes all
information received from third parties that either Pany is obligated to treat as
confidential and oral infomtation that is identified by either Party as conlidential.

A Party‘s Conftdential information shall not include information that (a) is or
becomes a part of the public domain through no act or omission of the receiving Party;
(ii) was in the receiving Party's lawful possession prior to its disclosure by the other
Party and had not been obtained by the receiving Party either directly or indirectly
from the disclosing Party; (iii) is lawfully disclosed to the receiving Party by a third
party without restriction on disclosure; or (iv) is independently developed by a Party
widmar use of or reference to a disclosing Party's Contidentiai information in
addition, this Scction will not be constch to prohibit disclosure of Confrdential
information to thc extent that such disclosure is required by law or valid order of a

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court or other goverrnnental authority; provided however. that the disclosing
responding Party shall first have given notice to the other Party and a reasonable
opportunity to obtain a protective order, or the disclosing Party shall have made a
reasonable effort to obtain a protective order requiring that the Contidential
lnfonrtationsodisclosedbeuscdonlyforthepurposesforwhichtheorderwasissued.

Each of the Partiee agrees, unless required by law, not to make the other's
Coniidential lnformation available in any form to any third party (except to a Party’s
directors, officers employees, agents, or representadves. including without limitation,
its attomeys, accountants consultants and tinancial advisors} or to use each other's
Contidential lnfonnation for any purpose other than in the performance of this
Agreement. Each Party agrees to take all reasonable steps to ensure that Conlidential
Infonnation is not disclosed or distributed by its employees or agents in breach of this
Agreetnent. The parties agree to hold each other's Conlidential lnformation in
confidence during the Term of this Agreement and for a period of eighteen (18)
months thereafter. Each Party acknowledges and agrees that, due to the unique nature
of Confidential Infonnation, there can be no adequate remedy at law for breach of this
Section and that such breach would cause irreparable harm to the non-breaching Party;
therefore the non-breaching Party shall be entitled to seek immediate injunctive relief,
in addition to whateverrernedies it might have at law or under this Agreement.

12. Non-SolicitntionINMllC Persolmel.

(a) During the Tenn (or any additional Tenn) and for a period of twenty-
four (24) months after its termination, neither NMHC nor ASM shall, without the
other Party's prior written approval, solicit for employment, directly or indirectly
(either as an ernployee, contractor, indepenth agent, or representative of another
vendor), any of the other Party's employees or independent connector staff members

(b) Any personnel tirrnished by NMHC in respect to the operation of the
lNDYCAR New Orleans Event, notwithstanding any of the provisions herein,
continue to be NMHC‘s employees and shall not for any purpose be considered
ASM’s employees NMl-IC shall be solely req:ronsible for the payment of the salaries
and/or fee of such NMHC personnel and matters relating thereto, including the
withholding andfor payment of all federal, state and local income and other payroll
taxes workmen‘s compensation, disability benetits, and all stroh additional legal
requirements of like nature applicable to such personne|.

13. governng Law[Jurlsdic§gn. This Agreernent is made in the State of Louisiana and
shall be governed by the substantive provisions of Louisiana law without regard to its
conflicts of laws rules. The Parties agree that any legal action or proceeding with respect to
this Agreentent shall be brought exclusively in the State Cotrrts or United States District
Court located in New Orleans, louisiana or .lel’l`erson Parish, Louisiana. Each of the Parties
irrevocably consents to the personal jurisdiction of such courts, and all courts to which
appealsmaybetakenfromsuchcourts,agreestoacceptserviceofproceasbycertifredor

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registered mail and hereby waives any jurisdictional or venue defenses otherwise available to
it. Shculd any Party commence legal action to interpret or enforce or obtain any remedy for
breach of the terms of this Agreement, the prevailing Party in such action shall be entitled to
recover reasonable attorney‘s fees, court costs and other legal expenses, including without
limitation. attomey‘s fees, court costs and other legal expenses incurred at the trial and
appellate levels and in any bankruptcy, reorganization, insolvency or other similar

proceedings

Any claim arising out of or relating to a dispnte, interpretation or enforcement of any
provision in this Agreemerrt, or any breach thereof, except for any disputes relating to the
confidential information or the marks or the enforcement of any of the covenants in this
Agreement, shall be decided via private arbitration and by a single arbitrator (not
administered by the Arnerican Arbitration Association) in New Orleans, Louisiana, but in
accordance with the commercial rules of the American Arbitration Association then in effect
and judgment upon tlte award may be entered in any court having jurisdiction thereof and
shall be linal, binding, and unappealable. The arbitrator is explicitly authorized to award
attorneys’ fees as part of the award. 'Nothing contained herein shall, however1 be construed to
limit or to preclude either Party from bringing any action in any court of competent
jurisdiction for injunctive or other provisional relief to comply with its obligations and
covenants hereunder or to protect its rnarlts. copyrights. trade secrets, or confidential
information This arbitration provision shall be deemed to be self-executing and in the event
that either Pany fails to appear at any properly noticed arbitration promeding, an award and
corresponding judgment may be entered against either Party in accordance with the terms of
this paragraph, notwithstanding a Party's failure to appear.

14. Noticaa. All notices required or permitted hereunder shall be in writing and
shall be either personally delivered, delivered by a national courier service (e.g.,
I'~`ederal Express, U.P.S. if domestic, DHL if international), sent by registered or
certified U.S. mail, return receipt requested or sent by facsimile or electronic mail
during the addressee‘s regular business hours and if by facsimile. continued by
facsimile answerback and in each case addressed as follows:

if to NMHQ, LLC:

Nola Motorsports Host Cornmittee
l 1075 Nicolle Boulevard
Avondale, LA 70094

Attn:

W'thaco to suchco not constituti noice:
TBD

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lf to Andretli Sgt_trts Marketing, LLC:

Andretti Sports Marketing, LLC
7615 Zionsville Road
lndianapolis, IN 46268

Attn: John .l. Lopes, President

Withaco not ' ‘ notice:

Anarerri sports meeting LLC
7615 Zitmsvillc Road
rndnnapolis. IN 46263

Attn: Euttice Spells

lS. E u bleltl ' edler d adler laive. lnadditiontoallother
rights and remedies available trader applicable law or as set forth in this Agreernerrt, each
Party shall he entitled to injunctive relief restraining the breach or threatened breach of each
l’arty's obligation under Sections 8,11, 12 and other ofthe various terms of this Agreernent or
the tmauthoriacd use of the intellectual property of either Party, and to speeilic perfomranee
thereof. 'Ilre Parties agree that monetary damages would not be adequate compensation for
anylossiacnrredbyreasonofabreachof$ectionss,ll orl2orunauthorizeduseof
intellectual property and agree to waive the defense in any action for injunctive relief or
specitie performance thereof that a remedy at law would be adequate Neither of the Parties
shall be required to lia'nish a bond in order to obtain equitable relief and if a bond cannot be
waived, security thereon shall not he required. The rights and remedies set forth herein are
intended to he ctrnrulative, and the exercise of any right or remedy by either Parly shall not
preclude or waive its exercise of any other rights or remedies hereunder or pursuant to law or

equity.

16. M.lntheeventanyprovisionofthisAgreemcntisheldtobeinvalidor
unenforceaqu the remaining provisions of this Agreement will remain in hill force.

11'. LMM. No alteration, change. modification or waiver of or to this
Agreement shall be valid or binding unless in writing and signed by both Parties hereto. No
additional Seheduloc (excepting the original SOW set forth in Mgle_¢) to the Agreernent
shall be valid or binding unless in writing and signed by both Parties hereto. No evidence of
any alteration, change, modification or waiver of or to this Agr'eement orally or by a
unilateral inconsistent course of conduct or by any other means except in compliance with the
preceding sentence shall be admissible in any court, arbitration or mediation proceeding
conceming the enforcement or construction of this Agreernent. The failure of either Party to
object to or to take affirmative action with respect to any conduct of the other Party which is
in violation of the terms hereof shall not be construed as a waiver thereof, nor of any
subsequent breach or wronng conduct.

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IB. Force Maieure. Each Party will bc excused from performance for any period during
which, and to the extent that, it or its subcontractor(s) is prevented from performing any
obligation or service, in whole or in parr, as a result of causes beyond its reasonable control,
and without its fault or negligence including without limitation, acts of God, strikes,
lockouts, riots, acts of war, epidemics, communication line failures, and power failures, etc.
(“Foree Majeure"). During the Term or any additional Temr, if there is an unexpected
cancellation and with out postponement and rescheduling of the INDYCAR New Orleans
Event due to an event of Force Majeure, ASM may retain Fees it has received horn
lNDYCAR and will negotiate any fee issues directly with lNDYCAR.

19. Relatlorrshlp between the Parties. The Parties are independent contractors; nothing
in this Agreernent shall be construed to create a partnership, joint venture or agency
relationship between the parties.

20. Public Announmt. Neither Party will, without the express written consent of the
other Party (such consent not to he unreasonable withheld or dclayed). publish any press
release or make any public announcement relating to this Agreement andlor the business
relationship created herein, except as may be required by law, regulation or governmental
authority. Once INDYCAR publishes its 2015 race schedule, the Partics agree to mentally
work together to issue a press release to publically announce this Agreement and the
INDYCAR Ncw Or'leans Event.

21. No Corrstruction aginst Drafting Pa;rx. Each Party to this Agreemcnt expressly
recognizes that this Agreenrent results from a negotiation process in which each Party
participated and contributed to the dralling of this Agreenrent. Accordingly, no legal or other
presumptions in favor of, or adverse to, either Party concerning the construction or
interpretation of this Agreement shall apply and each Party expressly waives the right to
assert such a presumption in any proceedings or disputes connected with, arising out of. or
involving this Agreement. The language, terms, conditions, and provisions of this
Agreement are the result of negotiations between the parties and this Agreement will not be
construed in favor of or against any Party by reason of the extent to which any Parry or its
professional advisors participated in the preparation of this Agreernent or based on a Party's
undertaking of an obligation under this Agreement.

22. Entire Agreemerrt. This Agreement, together with the attached schedules, which are
incorporated by reference, constitutes the complete agreement between the parties and
supersedes all prior or contemporaneous agreements or representations written or oral,
concerning the subject matter of this Agreement and such Sehedules. This Agreement may
not be modified or amended except in writing signed by a duly authorized representative of
each Party; No other act, document, usage or custom shall be deemed to amend or modify
this Agreenrent.

23. Survjyg!. Each Party hereto agrees that the obligations and duties and any other
provision herein which must similarly survive in order to affect the purpose andfor intent of
this Agreement, are continuing obligations and duties and shall survive the termination of this
Agreement until the expiration of all applicable statutes of limitation.

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24. Cognte__r_'garts. This Agreement may be executed in two (2) counterparts each of
whichshallbeconsideredoneaudthcsameAgreement. 'l`hePartiesagrecthatt`orpurposes
of negotiating and tinalizing this Agreement, any signed doctmrentation, including this
Agreernent and any subsequent amendments, transmitted electronically or by facsimile
machine shall be heated in all manners and in all respects as an original document and shall
have the same binding legal effect as an original contract An electronic, photocopied or
facsimile signature of any Party shall be considered for these purposes as an original
signature At the request of either Party, any facsimile, phowcopied or electronic executed
document shall he rcr-executed by both Parties in an original fonn.

25. Voiditrg of Agment. This Agr'eement shall be considered null and void if (a)
lrrdyCar and NMHC fail to execute a binding sanction agreement or (b) the $4.5 million in
funds allocated by the State of Louisiana are not distributed to the NMHC or, (c) the Event is
cancelled lt the Event is cancelled, ASM shall be entitled to all sums earned up until the
written notification of Event cancellation.

26. Fundl_ng of EML The NMHC warrants that it has $l million in timds
available to it to fund the Event. All revenues shall flow into an account established to hurd
theevent. ltshallbetlreresponsibilityofASMtomanagethecash tlowtoensurethatthe$l
million referenced herein in addition to the revenues generated by the Event are sufficient to
timely pay for all costs necessary to fund the Event. ASM shall be entitled to alter when
payments are made for expendituresl within the budgeted amount, to ensure sull`tcient cash
flow to timely make all payments Nothing in this Race Services Agreement. including but
notlimitedtothisParagmph 26,shallmakethedebtsol`thethl-l€thedebtsofASM.
NMHC shall be solely liable for the debts incurred by it and those duly authorized debts
incurred on irs behalf.

WHEREOF, the Parties, through their respective duly authorized and acting
representatives haveexecutedthisAgreementtobeetl`ective inaccordancewiththetennsas

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moch

B‘r": _
Austir`r'§thrke Taylor'?
Mctt'tbet' end EVP

 

NOLA MOTORSPORTS HOS'I` COMMITTEE
BY: r/v"__"__"

° Engeron`,'
Presideot, Nola Motorsports Host Committee

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Statetnent of Work

INDYCAR New Orleans Event

This Statcmcnt ol` Work (the “SOW") is an attachment to, and a necessary component ol`, the
Racing Services Agreement dated as of July 6, 2014 (the "Agreement") by and between
NOLA Motor Company, a Louisiana limited liability company (“NMHC") and Andretti
Sports Marketing Lottisiana, LLC (“ASM”) Capitalized terms used in this SOW but not
defined herein have the meanings given in the Agreement.

Scogt_: ol` l*roiect

NMHC is the owner and promoter of the Race (afkfa the lNDYCAR New Orlcans Event).
NMHC has contracted with ASM for the development, coordination tnanagentent, operation
and execution of a private label solution l`or conducting the Event commencing in 2014 and
scheduled for 2015, 2016 and 2017, which are to be sanctioned as part of the Verizon
lNDYCAR Series. ASM shall perform duties as the manager of the Race. ln such capacity,
ASM shall develop, coordinate, manage and execute promotional processes including both
the operational and commercial disciplines required with respect to the Event. The Parties
agree that each is responsible for the provision of their own legal and accounting services in
support of the I'NDYCAR New Orleans Event.

General

ASM will provide Services sufficient to satisfy NMHC’s obligations to promote and put on
the 2015 Event and in subsequent years during the Term. ASM shall provide the Services in
accordance with this SOW and shall act at NMHC’s contractor responsible for coordinating
matters related to the Event Btrdget and for consulting with NMHC with respect to matters of
the Event Budget (inc|uding a time line setting forth lirnding needs). ASM shall have no
authority to obligate NMl-IC with respect to any expenditure. other than those set forth in the
Event Budget, which may be reviewed and amended by NMHC at any time in consultation
with ASM. ASM shall obtain consent from NMHC l`or any expenditure not listed itt the
Event Budget or for those expenses in excess of the amount allocated with respect thereto in
the Event Budget. NMHC shall be fully and solely responsible for all of the expenses in the
Event Budget and all of the expenses associated with the Event, including any and all
commercial and operational services expenses associated with the Event as outlined in this
Agreement and this Sehedule A. ASM shall be responsible for the payment of items in the
Event Budget only if noted in this Agreement as being specifically paid by ASM. NMHC
acknowledges that tlte Event Budget is a living document in that it will grow and contract in
various categories of expense as the Event project progresses and that the 2015 Event is a
lirst year event with no historical data to reference and, as such, the 2015 Event will serve as
a benchmark l`or the development of future Event budgets

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Without otherwise limiting the scope of the Services provided by ASM, ASM shall provide
the following Servicc¢ in respect to the Race:

Ccmme lMarra ement Services

ASM will provide oversight and management ofall commercial activities of the Race.
ASM staff will execute the ltace both cperationaliy and corrunetcially.

ASM will provide a General Manager for the Race who will oversee on a full-time basis,
and have primary responsibility for, operations of the Race.

ASM will provide executive stall', as required, to assist in municipal discussions,
negotiation and press events related to the Race.

ASM will managetlresalesprccess,tlteproduction ofallsalesmatcrialsandprovidestaff
required for all national sponsorships, local spmwot'ships, haspitality, vendors and sales
ASM will provide, via its third-party law linn or in~hcme counsel, legal services required
for sponsor, vendor, ott-site sales (suites, coach parking, etc.) and hospitality contracts
ASM will oversce, manage, negotiate and consult with all parties for the INDYCAR
sanction agreements through their tinalization and implementation

ASM will provide and execute the marketing and media plan for the Race. Expenses
related to the marketing and media plans' implementation shall be paid by NMl-IC.

ASM will provide media strategy consultation and advertising/media purchase planning
andexecution fortheRaceasweliasretainmaaagethemediabuyingagencyon
NMI-lC’s behalf. NMHC shall payand all media purchaseexpenscs.

ASM will manage the selection of n\arketlDMA specific advertising strategies in
conjunction with media agency. NMHC shall pay for such media agency’s fees if
applicable.

ASM will manage trophy design and production NMHC will pay for such design and
production

ASM will manage Race entertainment (cclebrity wrangling, air show, clowns, face
painters, family programing, concert production, staging, talent acquisiticn, bacldine
management, ancillary music, street entertainment, any carnival aspects of the Race as
applicable). NMHC will pay for such Race entertairunent.

ASM will provide media center management

ASM will provide sponsor contract negotiation

ASM will provide public relations management, including management of local and
national agencies and stafl`ing. NMl-lC shall pay for any New Orleans or Louisiana
specific public relations agencies it retains for its own behalf.

ASM will provide corporate relations management both locally and nationally.

ASM will provide credentials and accreditation services

ASM will provide client services and sponsor fullillntent.

ASM will provide creative smytces, both digital and traditional.

ASM will manage, design and update the Event website at ASM’s expense

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ASM will select and manage a third party ticket system provider, who will provide onlinc
ticket sales and ticket fulfillmenl.

ASM will manage the relationship with the ticketing company, seat manifest and
customer problem resolution

ASM will provide operation of event box oflice. The expenses of such box oliice
operation shall be paid by NMHC.

ASM will provide public address services and ASM shall pay for the public address
announcer. NMHC shall pay for any public address system inti'astructure.

ASM will provide volunteer acquisition, training and management.

ASM will provide or arrange for its own insurance as required under this Agreenrent.
NMHC shall pay for its insurance obligations

ASM will arrange for, production, design and management of the souvenir program.
NMHC shall pay for such production

ASM shall secure and pay for a master of ceremonies for the Race.

ASM will manage local business interruption issues, together with NMHC, if applicable
ASM will undertake and manage the sales efforts for the Event, including management of
any third party contract sales agents. ASM shall pay the salary or retainer of third party
sales agents it retains to fulfill its obligations pursuant to this Agreernent. The revenue of
all sales for the Event shall be the sole property of NMHC. ln the Event that a third party
sales agent works on a commission basis, as agreed by NMHC and ASM collectively,
then such commission shall be paid by NMHC from the NMl-lC sponsorship sales
revenue For purposes of clarily. ASM shall not be paid commissions for its sales related
services pursuant to this Agreement and ASM makes no guarantees that its sales efforts
shall be successful cr meet any defined criteria i-lowever. ASM shall exercise its good
faith efforts to work with NMHC in achieving its sales goals for the Event. ln that regard,
it is understood that NMHC shall contribute its good faith effort to the sales process for
the Event in terms of networking ASM representatives within the Luuisiana corporate
community and making its officers and principals available for important sales meetings
Each of the Parties hereto shall work cooperativer to enhance the ability of each other's
efforts during the sales and sponsor prospecting process in support of the Event. Such
sales efforts shall focus upon but not bc limited to the following:

- To sell title sponsor
- To sell presenting sponsor
- To sell support race title sponsor
- 'l`o sell corner sponsors
- To sell category sponsors
- To sell intield signage packages
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- To sell bridge or false-bridge aponsorsbip, ifapplicable

- To sell media center sponsorship

- To sell paddock sponsorship

- To sell credential center sponsorship

- To sell beverage sponsorships (alcoholic and non-alcoholic)

- To sell official vehicle sponsorships

- To sell in-ltind advertising and promotional partner relationships, and
- To package in-klnd relationships that may offset NMHC’s cost of operations

ASM will manage and liaise with retailers on the develome execution and evaluation
of local market POS programs, in-store marketing initiatives and tro-promotional
relationships

ASM will manage all on-site and exit sampling programs. ASM is authode to collect a
fee for its sampling services from a sponsor if required by that sponsor to manage exit
sampling

ASM will manage tire program or fan guide (if applicable), media)'news insert
development, press releases, and race-team information packets Costs for the program
or fan guide shall be the responsibility ofNMHC.

ASM will organize and coordinate all promotional events such as charity gala, local on-
premise bar!niglrtclub pre-promotions and special events iri-support of the Race. The
Parties contemplate that these support and promotional events shall be paid for in large
part by third partial such as NMHC's sponsors.

ASM will adequately store all program elements including product samples, program
unil`orms, oollateral, staging elements and materials at NMHC’s facilities

ASM will be responsible forrecruiting, training and managing all activation stat'fand
supuvisors for each event and the duration ofthe various events in support of the Race.
ASM will liaise with primary point of contacts with the sales and marketing of the various
sponsors ol`NMHC's sponsors for on-pr'ernise, retail and media promotions, ifapplicable.
ASM will manage all creative approvals for POS, signage, marketing and media
regarding sponsors usage of municipal or tourism marks in the promotion of the Racc.
A.SM will ensure meticulous client service and reporting throughout duration of the
Event's planning and build-up including planning and activation time frames, weekly
status meetings, program tracking documents, client mectings, municipal authority
updates as needed including but not limited to (preaentations, reports, emails, etc.).

ASM will provide a comprehensive map-up report, compiling activation data, key
|eaming. firtlrre recommendations measured-media reporting and rettnn-on-investment
analysis, each within sixty (60) days from the conclusion of the Race annually.

 

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' ASM will manage and provide post-Event economic impact study and return on
investment reporting for public officials as needed.

' ASM will conduct orr-site consumer survey for NMHC as well as Race sponsors and the
City. Such survey is intended to capture data relevant to the successful conduct ol` future
Events and for use in providing a compelling message to community leaders about the
attendees ol` the Race.

' ASM will develop, manage and execute a Race entertainment plan. paid for by NMHC
and incorporated into die NMHC approved Event budget, which may or may not include:

Coordination of all ceremonies and event production

Pre & post-race Cercrnony coordination with INDYCAR, lady Lights and any
other support series

VlP!participant coordination

Grand Marshal, starter & anthem talent research and coordination

Sponsor VlP management and coordination

Pre and post-race scripting and organization

VIP and driver parades (includes oversight of graphics installation il` required)
PAfvideo board coordination

Sponsor inventory coordination/collection

Tratiiclcing and reports

Talent management and scheduling

Equipment oversight

Ori-site concert production as required

Scriptiirg

Riders, backline, green room

Miiitary coordinationfaciivaiion--lly by acquisition and paperwork, all ancillary
military programming (color guards etc.), il` possible

Development of l`an midway!interactive logistics and programming (driver
autograph sessions and fan programming}

On-site driver appearance needs and support programming

' ASM will manage media strategy, iacluding:

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Local and national media ouu'eaclr.

Social media plan

Social media inlluencers

Conducr press announcement

Coordinate for race car drivers to travel into the market to promote the Race tsc
long as the travel expenses of each is pre-approved and paid for by NMHC)
Coordinate INDYCAR executive presence at announcements when possible
Coordinare with local CVB and Tourism authorities together with NMHC

Rally local business presence and support. together with NMHC

Developing and execute ticket launch strategy, in conjunction with NMHC

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o Develop and launch website and ticketing onlirre requirements, in conjunction
NMHC

o Provideaday todaycontactforEvemspoasors, busincsspartrrersandmunicipal

authorities

Develop local charity of choice in conjunction with NMHC pursuant to NMHC’s

direction

Planniogandexecution ofall PRpr'ogrrrmmirtg

Mcdia relations and management

Manrrge local PR agency, if necessary and required by NMHC

Ongoing and frequent contact with sanctioning organizations

Frovide staff others to ensure activation and integration of stakeholder benelits

PR strrnt planning and production if applicable

Crisis planning, activation and management

Coordinatiorr of media days and tours, if applicable

Conduct telecorrferences, interview opportunities and integration of the Event into

community

Manage cause marketing initiatives

Oversee all media accreditation programs and access planning

Ensureservimareinalignmentwithwcialmediamm§ng, and

Provide guidance in the production collateral and messaging content for the press

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* Manage contract labor
' Reaporrsible for special promotions or activities that occur off-site (e.g., bar promotions,
street parties, etc.)

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* ASM will provide oversight and management ofall opmational activities in support of the
Race.

' ASM will manage all equipment hire including but not limited to scatt`oidirrg, stages
video boards. generators, radios, cable TV, sound, PA, cart rentals, grandstands, and
suites. The expense ofsra:lr equipment hire shall be paid by NMHC.

' ASMwillprovidetraclroperatiorrsand track buildcoosultationandmanagementas
traded (spectator fenciog, safety system install, barrier fence rental, traffic control
systems, bridge rental and installation and rail modifications trucking and transportation
fence maintenance, stand-by crews, install and remove of signage, scrim, barriers, tire
barriers, false bridges, paving, oil dry. curbing. painting of logos). The expense of track
systems referenced above shall be paid for by NMHC.

‘ Managemerrt of portable buildings (timing and scoring, race coatrol, spectator medical
o'ai|er), if portable buildings are applicable

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Management of signage vendor and Race specific signage needs (suites, grandsumd
seating, way-finding, entries, local promotional, City, State, directional, miscellaneous).
Provision ol` an operations team for the Race including a Director ol`Operations .

ASM will manage and oversee the FIA relationship for track inspection and sanction.
ASM will acquire block, fence, and bridges as needed for the Racc and at NMHC's
expense pursuant to the Event budget.

ASM will provide logistics manager and stale

ASM will provide emergency vehicle dispatch.

ASM will provide emergency operations plan and coordination.

ASM will provide race control staffing.

ASM will provide Race control operations and staffing.

ASM will provide pit lane and fuel management.

ASM will provide circuit and paddock engineering

ASM will provide coordination with all City services.

ASM will provide coordination with EMS, police, fire, and FEMA.

ASM will provide coordination with FAA, Homeland Security and U.S. military assets as
needed.

ASM will manage midway, merchandise space and vendors.

ASM will manage motorhome parking for team and driver hospitality.

ASM will manage re-bills to teams and vendors for clectric, scaffolding, portable toilet,
golf cart and other rentals.

ASM will marriage circuit configuration and planning, integrating local business needs.
ASM will manage circuit build start to finish to storage lirll service.

ASM will manage overall site planning and build of Event specific assets.

ASM will manage grandstand quantities, locations and construction

ASM will manage suite locations and construction

ASM will manage bridge loeations, dimensions and construction (if applicable).

ASM will manage safety planning

ASM will collaborate with City, State and Parish services

ASM will manage podium placement ceremony specific assers.

ASM will recommend big screen quantities and locations and arrangements

ASM will provide drawings - CAD & PDF including FIA certilication requirements
ASM will manage fire suppression system - pit lane.

ASM will manage vendor locations

ASM will manage concert area location design and implementation

ASM will coordinate and organize flag marshals

ASM will manage spectator access and flow.

ASM will manage sanctioning body communication

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° ASM will build cn-traclc schedule incorporating support series in coordination with
sanctioning bodies.

ASM will manage security planning with municipal authorities

ASM will operate Racc control.

ASM will construct emergency plan.

ASM will organize paddock areas.

ASM will manage all support services, via various entities and vendors contracted by

NMHC, as necessary, including:

Security

Electrical

Cleaning and janitorial
Standby crew services
Policc

EMS

FEMA

Fire

Spectator medical
Course medical

Pit lane fire system management

Distribution of television cables
Distrlbution of electric and generator needs
Shuttle bus management

Red carpet management

Course workers and SCCA coordination
Photography credentials. placement
Portable toilets

Trash

Black waste removal

Lanthcaping

Parking

Storage

Facility coordination and pmgraming if applicable to the site, or in the alternative
all public and private facilities provided
Exhibition space management, if applicable

Persoone.l Provlded br ASM
Executive Manage£e ent

Executivc staff support

Administrative sta!l` support

l..egal staff support (NMHC provides its own legal services)
Accounting staffsupport (NMHC provides its own Event aecounting)
General Manager (overall conduct of Event operations)

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Operations Stall'igg

- Operations Direl:tor

- Operations Manager

- Operations Assistant

- Parlring/Trallic Manager

- Tt'ack Operations Manager (il`applicable)
- Traclr Dispatcher (ifapplicable)

- Emergency Operations Coordinator

- Engineering finn (expense paid by NMHC}
- Signage Coordinator

- Car Conal Manager

Qommercial ngl'igg

- Marketing & Advertising Director

- Marketing Coordinator

- Advcrtisiog Agency Support to develop media plan and to coordinate media
purchase, as part ofNMHC media purchase expense

- Clieat Services Manager

- Clienl Servicec -l

- Client Services -2

- Creative Designer

- Public Relations and Corporate Cornmunications Director

- Public Relations Agency (loeal agency paid for by NMHC if required)

- Media Center Manager

- Photographer &. Videographer

- Ticketing and Credential Manager

- Box Oflice Manager

- Sales Director (l`or both National and Lccal Sales)

- Salee Persons (Loca|, may be commissioned 3"' party sales)

- Ccremonies Managcr

- P.A. Announcer

- Volunteer Supcrvisor

- Consurner Survey and ROl Tearn Mcrnbcrs

- Websitc Developer

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First Amendment to the
Racing Services Agreernent
by and between
Noia Motorsports i-lost Committee, lnc.
Arld
Andret:ti Sports Marketing Louisiana, LLC.

Whereas, No|a Motorsports i-lost Committee, lnc. and Andretti Sports Marketing
Louisiana, LLC entered into a contract titled Racing Services Agreernent with an
effective date of july 6, 2014;

Whereas, the parties wish to amend said agreement in consideration of a race date
being negotiated with lndycar, LLC; and

Whereas, the parties seek to correct a typographin error on the signature page of
said Agreement by making clear that Andretti Sports Marketing l.ouisiana. LLC is the
party to the Agreement, and not Andretti Sports Marireting, LLC;

Now therefore the parties agree to the following:

1. The original agreement shall remain in full force and effect except as
modified herein.

2. The parties agree that a typographical error shall be corrected to make clear
thatAndretti Sports Mariretlng l.ouisiana, LLC and not Andretti Sports
Marlteting, LLC is the party to said Agreement.

3. The Fee Sehedule in Section 4 shall be deleted in its entirety and replaced
with the following Fee Schedu|e:

 

Fee Sehedule for 2015 Event
Due On or Before Raca Services Fee Management Fee Total

ahs/14 $ss.ass $96,895
9/15/14 $96,395 $96,895
solis/14 596,895 $96,895
11/15/14 $96,395 sss,sss
12/15{14 $96,895 $96.895
1115/15 $ss,ass $96.895
2115/15 $96.395 $96.895
ahs/15 $96,395 $So.eoo $146.895

411/15 sss,aas szoo,ooo $zss,ass

5/15/15 szoo,ooo $zoo.ooo

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Fee Sehedule for 2016 Event
Due On or Beiore ltace Services Fee Management Fee Tctal
6/15/15 $43,603.00 534,615.00 $ra,zm.oo
7/15/15 $43.603.00 $34.615.00 $7a.2ta.oo
ahs/15 $43,603.00 $34,615.00 sra,zta.oo
9/15/15 saa,aoa.oo $34,615.00 sra,znr.oo
10/15/15 saa,coa.oo 534,615.00 $78,213.00
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line t'ln or Before Race Services Fee Management Fee Total
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rear 3 Total $872,050.00 $450,000.00 $1,322,050.00

 

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WHEREOF. the Partiee, through their respective duly authorized and acting
representatives have executed this First Arnendment to the Racing Services Agreement
to be effective on this 27al day of August. 2014 accordance with the terms as set forth
herein.

ANDRETTI SPORTS MARKETING
LOUIS[ANA LLC

BY:

"" \' ’ Austin Starke Taylor, Partner

NOLA Motorsports l-lost Committee, inc.

lies/l lp@n't|.,../" °“

Kristen Engeron, President
Nola Motorsports l-iost Cornrnittec

